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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS



MARISA CLOUTIER-BRISTOL


V.                                                    CIVIL ACTION NO. 19-10179-DJC


WOMEN & INFANTS' FERTILITY
CENTER, ET AL




                                         Scheduling Order


Casper, J.

         This Scheduling Order is intended primarily to provide a reasonable timetable for discovery
and motion practice and to ensure the fair and just resolution of this matter, either by settlement or
trial, without undue delay or expense.

        Having conducted a Scheduling Conference between the parties pursuant to Local Rule
16.1(a), it is hereby ORDERED pursuant to Rule 16(b) of the Federal Rules of Civil Procedure and
Local Rule 16.1(f) that:

       1. Initial Disclosures. Have been exchanged.

       2. Amendments to Pleadings. Except for good cause shown, no motions seeking leave to
add new parties or to amend the pleadings to assert new claims or defenses may be filed after March
30, 2020 .

       3. Fact Discovery.

               a.      Final Deadline. All discovery, other than expert discovery, must be completed
                       by June 30, 2020 .

       4. Status Conference. A status conference will be held on July 13, 2020 at 2:00PM in
Courtroom 11, 5th Floor.
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       5. Expert Discovery.

               a.      Plaintiff(s)’ trial experts must be designated and the information required by
                       Fed. R. Civ. P. 26(a)(2) must be disclosed by October 31, 2020 .

               b.      Defendant(s)’ trial experts must be designated and the information required by
                       Fed. R. Civ. P. 26(a)(2) must be disclosed by November 20, 2020 .

               c.      All trial experts must be deposed by December 31, 2020 .

       6. Summary Judgment Motions.

               a. Motions for summary judgment must be filed by September 30, 2020 .

               b. Opposition to summary judgment motions must be filed within 21 days after service
of the motion pursuant to Local Rule 7.1.

               c. All summary judgment filings shall conform to the requirements of Local Rule 56.1.

                 d. The movant for summary judgment shall serve electronically a Word version of their
statement of undisputed facts on the non-movant when they file their motion for summary judgment
and all supporting materials. When filing its opposition to the motion for summary judgment, the non-
movant shall file a response to the movant's statement of undisputed facts that uses the Word
document and responses to each of the movant's undisputed facts, paragraph by paragraph, and, if
disputed, include page references to affidavits, depositions or other documents in the record. If the
movant contends that there are separate disputed material facts, it may identify them in a separate
section at the end of this document, paragraph by paragraph with page references to affidavits,
depositions and other documents in the record. The non-movant shall file this document on ECF and
shall serve it on the movant in an electronic Word document when the non-movant files its opposition.
The movant may then respond to any separately identified disputed facts, using this Word document
and responding to each of the movant's disputed facts, paragraph by paragraph with page references
to the affidavits, depositions or other documents in the record and file same when it files its reply
brief.




Date: September 5, 2019                              /s/ Denise J. Casper
                                                     U. S. District Judge
